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                                    9:19mj38
                      AFFIDAVIT OF PROBABLE CAUSE
                   IN SUPPORT OF AN ARREST WARRANT

       Your Affiant, being duly sworn, deposes and states as follows:

    1. I, Cheree Miller, am a Deportation Officer of United States Immigration and
       Customs Enforcement, Enforcement and Removal Operations hereinafter refer ed
       to as ICE ERO and have been so employed for approximately two years. Prior to
       this, I was employed as a United States Border Patrol Agent for approximately
       sixteen years. I have received the requisite training and have gained practical
       experience investigating a wide variety of violations of U.S. law, to include the
       Immigration and Nationality Act of 1952 (INA), Title 8 Code of Federal
       Regulations, and Title 8 of the United States Code. Since August of 2000,1 have
       conducted investigations or assisted with investigations which resulted in the
       Administrative Removal of people not legally present in the United States, and
       which resulted in the criminal prosecution of people for violations of Title 8
       United States Code, Section 1326. The facts and circumstances enumerated below
       are derived from my own observations as well the observations of other law
       enforcement officers.

    2. On March 21, 2019, ICE ERO Deportation Officer Woodson encountered Ernesto
       Don Juan-Perez while he was incarcerated in the Nacogdoches County Jail, in
       Nacogdoches Texas for a vehicle accident involving damages. Officer Woodson
       placed an immigration detainer on Ernesto Don Juan-Perez.

    3. On March 21,2019, Deportation Officer Miller conducted data system checks
       which revealed Ernesto Don Juan-Perez to be an alien who is associated to an
       existing Alien Registration File.

    4. A check with National Crime Information Center (NCIC) revealed an existing FBI
       number, which is assigned to Ernesto Don Juan-Perez with aliases of Ernesto Juan
       Perez, Jose Perez, Ernesto Don Juan-Perez, and Ernesto Donjuan Perez.

    5. Checks of the Citizenship and Immigration Services databases revealed Ernesto
        Don Juan-Perez is a citizen and national of Mexico. Ernesto Don Juan-Perez was
       arrested for illegal entiy on February 11, 2009, ordered removed by Expedited
       Removal. On February 12, 2009 Ernesto Don Juan-Perez was convicted in the
       United States District Court, Southe District of Texas for illegal entry and
       sentenced to 10 days confinement. He was removed to Mexico on February 20,
       2009. Ernesto Don Juan-Perez was arrested for illegal entry on February 10, 2010
       and his order of removal was reinstated. On February 18, 2010 he was convicted




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       of illegal entry in Del Rio, Texas and sentenced to 90 days confinement. He was
       subsequently removed to Mexico on May 10, 2010.

    6. Ernesto Don Juan-Perez has not applied for permission to e-enter the United
       States from the Attorney General of the United States or Secretary of Homeland
       Security since he was last removed in 2010.

    7. Based on the facts and circumstances enumerated above, I believe that Ernesto
       Don Juan-Perez has committed a violation of Title 8 United States Code, Section
       1326, Reentry of a Removed / Deported Alien, by being found in the Eastern
       District of Texas on March 21, 2019, after being previously deported from the
       United States without receiving permission from the Attorney General of the
       United States or Secretary of Homeland Security.




                                         Cheree Miller, Deportation Officer
                                         U.S. Immigration and Customs Enforcement



 SIGNED AND SWORN this the           i   day ojf urch 2019, in Beaumont, Texas.
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                                         ZACK HAWTHORN
                                          nited Itatbs Magistrate Judge
                                         United States District Court
                                         Foi the Eastern District of Texas




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